Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 1 of 18




Exhibit 2—Rule 26(a)
 Disclosures of Both
        Parties
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 2 of 18




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DIRSTRICT OF PENNSYLVANIA

                                              :
LISA BARBOUNIS                                :      CIVIL ACTION
                       Plaintiff,             :      NO. 2:19-cv-05030-JDW
-vs-                                          :
                                              :
THE MIDDLE EAST FORUM, et al.                 :
                                              :
                       Defendants.            :


       Plaintiff, Lisa Barbounis, by and through her attorneys, Derek Smith Law Group, PLLC
hereby respectfully submits, pursuant to Rule 26(a) et. seq. of the Federal Rules of Civil
Procedure, these initial discovery disclosure as follows:

        A.      The name and, if known, the address and telephone number of each individual
likely to have discoverable information that the disclosing party may use to support her claims
and defenses, unless solely for impeachment, identifying the subjects of the information;

        Where the Address is not listed, Plaintiff does not know the address of the individual, but
this information should be in the possession of the Defendants.

       LISA BARBOUNIS                                        PLAINTIFF
       Plaintiff has knowledge of all of the claims in his Complaint. Defendants are in
       pos


       PATRICIA MCNULTY                                     WITNESS
       Patricia McNulty
       Complaint including the event that took place at the AIPAC conference in Washington
       D.C. Patricia McNulty was also in contact with Plaintiff during the events that occurred
       in Israel. Patricia McNulty can also provide testimony connected with the severe and
       pervasive discrimination and harassment to which Plaintiff was subjected by Defendants.
       Patricia McNulty can also provide testimony related to reports of discrimination and
       harassment in the workplace and retaliation. Defendants are in possession of Patricia
                   contact information.


       MARNIE MEYER                                          WITNESS

       Complaint. Marnie Meyer can also provide testimony connected with the severe and
       pervasive discrimination and harassment to which Plaintiff was subjected by Defendants.
       Marnie Meyer can also provide testimony related to reports of discrimination and
Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 3 of 18




harassment in the workplace and retaliation. Defendants are in possession of Marnie



CAITRIONA BRADY                                     WITNESS
Caitriona Brady
Complaint. Caitriona Brady can also provide testimony connected with the severe and
pervasive discrimination and harassment to which Plaintiff was subjected by Defendants.
Caitriona Brady can also provide testimony related to reports of discrimination and
harassment in the workplace and retaliation. Defendants are in possession of Caitriona
        contact information.


DELANEY YONCHEK                                       WITNESS

Complaint. Delaney Yonchek can also provide testimony connected with the severe and
pervasive discrimination and harassment to which Plaintiff was subjected by Defendants.
Delaney Yonchek can also provide testimony related to reports of discrimination and
harassment in the workplace and retaliation. Defendants are in possession of Delaney



GREG ROMAN                                           DEFENDANT
Greg Roman is a named Defendant who subjected Plaintiff to sexual harassment, sexual
abuse, a sexual assault, and severe and pervasive discrimination and harassment in the
workplace.


DANIEL PIPES                                          DEFENDANT (POTENTIAL)
Daniel Pipes should be treated as a named Defendant for the purposes of discovery as
Plaintiff intends to amend her First Amended Complaint to add Daniel Pipes as a named
                                           e Pennsylvania Human Relations Act and
Philadelphia Fair Practices Ordinance become ripe for suit. Daniel Pipes can offer
testimony regarding Defendants failure to implement meaningful corrective measures
                                                       sive discrimination and harassment
in the workplace to which Defendant, Greg Roman subjected female staff who worked
with or for The Middle East Forum including (1) Plaintiff, Lisa Barbounis, (2) Caitriona
Brady, (3) Patricia McNulty, (4) Delaney Yonchek, (5) Marnie Meyer, (6) Tiffany Lee,
(7) Lia Merville, (8) Alana Goodman, (9) Raquel Saraswati, (10) Samantha Mandalas,
(11) Lara (last name unknown), (12) Laura Frank, and (13) Rosie (last name unknown).
This is by no means an exhaustive list. Plaintiff intends to supplement this list to provide
Defendants with an accurate account of the women who worked with or for The Middle
East Forum who were subjected to severe and pervasive discrimination and harassment
by Defendant, Greg Roman. Daniel Pipes can offer testimony regarding all of these
Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 4 of 18




MATTHEW BENNETT                                   DEFENDANT (POTENTIAL)
Matthew Bennett should be treated as a Defendant for the purposes of discovery as
Plaintiff intends to amend her First Amended Complaint to add Daniel Pipes as a named

Philadelphia Fair Practices Ordinance become ripe for suit. Matthew Bennett subjected
Plaintiff to a campaign of sexual harassment and sexual advances including quid pro quo
sexual harassment. Matthew Bennett also has knowledge regarding the discrimination
and harassment in the workplace to which Plaintiff was subjected by Defendant, Greg
Rom
sexual misconduct, sexual abuse, and sexual harassment aimed at female individuals who
worked with or for The Middle East Forum. Matthew Bennett also has knowledge
regarding The Midd                                                      Defendants are



GRAYSON LEVEY                                      WITNESS
Grayson Levy was employed at The Middle East Forum at the same time when Plaintiff
was employed. Grayson Levy can provide relevant testimony related to the severe and
pervasive discrimination and harassment to which Plaintiff was subjected by Defendants.
Grayson Levey can also provide testimony related to reports of discrimination and
harassment in the workplace and retaliation. Defendants are in possession of Grayson




SAMANTHA MANDELA                                  WITNESS
Samantha Mandela was an employee of The Middle East Forum who was subjected to
discrimination and harassment because of her gender during her employment with The
Middle East Forum. Samantha Mandala can provide relevant testimony related to
Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of Samantha



TIFANY LEE                                        WITNESS
Tiffany Lee was an employee of The Middle East Forum who was subjected to
discrimination and harassment because of her gender during her employment with The
Middle East Forum. Tiffany Lee can provide relevant testimony related to Defendant,
Greg Rom
contact information.

VISILI BARBOUNIS                                    WITNESS
Visili Barbounis             husband and can provide testimony regarding the way in
which Plaintiff was emotionally effected by the severe and pervasive discrimination and


JANE REYNOLDS                                      WITNESS
Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 5 of 18




Jan
which Plaintiff was emotionally effected by the severe and pervasive discrimination and



LIA MERVILLE                                       WITNESS
Lia Merville was an employee of The Middle East Forum who was subjected to
discrimination and harassment because of her gender during her employment with The
Middle East Forum. Defendant, Greg Roman subjected Lia Merville to quid pro quo
sexual harassment. Lia Merville can provide relevant testimony related to Defendant,
Greg Roman and Daniel Pipes. Defendants are in possession of                  contact
information.


THELMA PROSSER                                           WITNESS
Thelma Prosser was an employee of The Middle East Forum who was employed at the
same time that Plaintiff was employed. Thelma Prosser can provide relevant testimony
related to Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of
                  contact information.


EJ KIMBALL                                         WITNESS
EJ Kimball was an employee of The Middle East Forum who was employed at the same
time that Plaintiff was employed. EJ Kimball can provide relevant testimony related to
Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of
contact information.

ALANA GOODMAN                                      WITNESS
Alana Goodman who a Washington Examiner reporter who was subjected to
discrimination and harassment based of her gender in interactions with Defendant, Greg
Roman. Defendant, Greg Roman subjected Alana Goodman to quid pro quo sexual
advances: sex for stories. Alana Goodman can provide relevant testimony related to
Defendant, Greg Roman.


ROSIE (Last name unknown)                          WITNESS
Rosie was an employee of The Middle East Forum who was subjected to discrimination
and harassment because of her gender during her employment with The Middle East
Forum. Rosie can provide relevant testimony related to Defendant, Greg Roman and
Daniel Pipes. Defendants are in possession of        contact information.


LARA (Last name unknown)                          WITNESS
Lara was an employee of The Middle East Forum who was subjected to discrimination
and harassment because of her gender during her employment with The Middle East
Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 6 of 18




Forum. Lara can provide relevant testimony related to Defendant, Greg Roman and
Daniel Pipes. Defendants are in possession of       contact information.




LAURA FRANK:                                      WITNESS
Laura Frank was an employee of The Middle East Forum who was subjected to
discrimination and harassment because of her gender during her employment with The
Middle East Forum. Laura Frank can provide relevant testimony related to Defendant,
Greg Roman and Daniel Pipes. Defendants are in possession of              s contact
information.

RAQUEL SARASWATI (AMAN PATEL)                     WITNESS
Raquel Saraswati was an employee of The Middle East Forum who was subjected to
discrimination and harassment because of her gender during her employment with The
Middle East Forum. Raquel Saraswati can provide relevant testimony related to
Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of Raquel
            contact information.

CLIFF SMITH                                         WITNESS
Cliff Smith was an employee of The Middle East Forum who was employed at the same
time that Plaintiff was employed. Cliff Smith can provide relevant testimony related to
                                                                                          s
contact information.


BENJAMIN BAIRD                                    WITNESS
Benjamin Baird was an employee of The Middle East Forum who was employed at the
same time that Plaintiff was employed. Benjamin Baird can provide relevant testimony
related to Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of
Benjam


SAMUEL WESTROP                                    WITNESS
Samuel Westrop was an employee of The Middle East Forum who was employed at the
same time that Plaintiff was employed. Samuel Westrop can provide relevant testimony
related to Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of



JUDY GOODROB                                      WITNESS
Judy Goodrob was an employee of The Middle East Forum who was employed at the
same time that Plaintiff was employed. Judy Goodrob can provide relevant testimony
related to Defendant, Greg Roman and Daniel Pipes. Defendants are in possession of
Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 7 of 18




EXPERT WITNESS                                            EMOTIONAL DISTRESS
Plaintiff intends to call an expert at trial to provide testimony related to the extent of
Plaintiff emotional damages. Plaintiff will provide
and all experts Plaintiff calls upon to testify at trial including the CV for the expert
                                          claim for emotional damages.


STEVEN LEVY                                       WITNESS
Steven Levy is an Officer of The Middle East Forum and sits on the Executive
Committee as the Chairman of The Middle East Forum during the same time that
Plaintiff was employed. Steven Levy can provide relevant testimony related to
Defendant, Greg Roman and Daniel Pipes. Steven Levy can also provide relevant

sex and gender discrimination. Steven Levy can also provide relevant information


female staff. Defendants are in possession of Steven Levy


DR. YEHUDA BASKIN                                     WITNESS
Dr. Yehuda Baskin is a founding member of the Board of The Middle East Forum who
sat on the Board during the same time that Plaintiff was employed. Dr. Yehuda Baskin
can provide relevant testimony related to Defendant, Greg Roman and Daniel Pipes. Dr.
Yehuda Baskin can a
policies regarding sexual harassment and sex and gender discrimination. Dr. Yehuda
Baskin
response including inves
ongoing, continuous discrimination and harassment of female staff. Defendants are in
possession of Dr. Yehuda Baskin


WILMA G. AEDER                              WITNESS
Wilma G. Aeder is a member of the Board of Governors of The Middle East Forum who
sat on the Board of Governors during the same time that Plaintiff was employed. Wilma
G. Aeder can provide relevant testimony related to Defendant, Greg Roman and Daniel
Pipes. Wilma G. Aeder can also provide relevant information related to The Middle East
                                                                                Wilma
G. Aeder
response including invest
ongoing, continuous discrimination and harassment of female staff. Defendants are in
possession of Wilma G. Aeder
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 8 of 18




       LAWRENCE HOLLIN                                     WITNESS
       Lawrence Hollin is the Treasurer of The Middle East Forum and sits on the Executive
       Committee both during the same time that Plaintiff was employed. Lawrence Hollin can
       provide relevant testimony related to Defendant, Greg Roman and Daniel Pipes.
       Lawrence Hollin can also provide relevant information related to The Middle East

       Lawrence Hollin can also provide relevant information related to The Middle East
                                                      orrective actions related to Greg

       are in possession of Lawrence Hollin



        B.      A copy of, or a description by category and location of, all documents,
electronically stores information, and tangible things that are in the possession, custody, or
control of the party and that the disclosing party may use to support its claims or defenses, unless
solely for impeachment:

       All pleadings on file with the Court and/or exchanged between parties in this action.
       All discovery which has or will be produced by Plaintiff and Defendants in this action.

                                                              administrative remedies.
       Emails and text messages exchanged between Plaintiff and/or the individual named
       above.
       Photographic evidence.
       Video evidence.

       Reports, witness statements, declarations, and investigative notes and statements of all
       previous reports of sexual misconduct, gender discrimination, sexual harassment, sexual
       assault, sexual abuse related to Defendant, Greg Roman and Matthew Bennett.
       Employee files.
       Plaintiff reserves the right to supplement and/or amend this response as additional
       information becomes available and as may be appropriate and necessary.

       C.       A computation of any category of damages claimed by the disclosing party,
making available for inspection and copying as under Rule 34 the documents or other evidentiary
material, not privileged or protected from disclosure, on which such computation is based,
including materials bearing on the nature and extent of injuries suffered.

At this early juncture, Plaintiff is claiming the following damages:

These unjust and illegal actions have had an extreme emotional toll on Plaintiff.

Emotional Distress:                                          $3,000,000.00
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 9 of 18




Lost Wages:                                                $10,000.00

Punitive Damages under the Discrimination Laws:            $6,000,000.00


                                                                    , the Americans with
Disabilities Act, the Family Medical Leave Act, and Pennsylvania Administrative Code.

       Plaintiff reserves the right to supplement/amend this response as more information
       becomes available and as may be appropriate and necessary.



         D.      For inspection and copying as under Rule 34 any insurance agreement under
which any person carrying on an insurance business may be liable to satisfy part or all of a
judgement which may be entered in the action or to indemnify or reimburse for payments made
to satisfy the judgement.

N/A.


                                                   DEREK SMITH LAW GROUP, PLLC


                                                By:______/s/ Seth D. Carson___________
                                                         SETH D. CARSON
                                                         Derek Smith Law Group, PLLC
                                                         1835 Market St, Ste 2950
                                                         Philadelphia, PA 19103
                                                         P: 215-391-4790
                                                         E: seth@dereksmithlaw.com
                                                         Attorneys for Plaintiff

DATE: February 7, 2020

CC:
        Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 10 of 18




David J. Walton (PA # 86019)
Leigh Ann Benson (PA #319406)
1650 Market Street, Suite 2800
Philadelphia, PA 19103
P: 215-665-2000
F: 215-665-2013
dwalton@cozen.com
lbenson@cozen.com

Attorneys for Defendants
The Middle East Forum and
Gregg Roman


                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



 LISA BARBOUNIS                              :
                                             :
                        Plaintiff,           :
 -vs-                                        :   CIVIL ACTION NO. 2:19-cv-05030-JDW
                                             :
 THE MIDDLE EAST FORUM and                   :
 GREGG ROMAN (individually)                  :
                                             :
                        Defendants.          :


                  DEFENDANTS RULE 26(a)(1) INITIAL DISCLOSURES

                                                                              serve these Rule

26(a)(1) Initial Disclosures:

                                      INTRODUCTION

        1.     These Initial Disclosures are made without waiver of any applicable privilege or

work-product protection.
      Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 11 of 18




       2.      Defendants hereby reserve all objections to the use for any purpose whatsoever of

this Initial Disclosure Statement or any of the information in documents referenced herein in this

case or in any other case or proceeding.

       3.      By referring to or producing documents in the Initial Disclosure process,

Defendants make no representations or concessions regarding the relevance or admissibility of any

particular document or type of documents.

       4.      These Initial Disclosures are made based upon the information available to the

Defendants to date. Defendants reserve the right to supplement, revise and/or amend these Initial

Disclosures if, and when, new information becomes available.

       5.      Defendants make these disclosures without prejudice to their right to introduce at

trial any evidence that is subsequently discovered and to their right to produce and introduce all

evidence whenever discovered relating to the proof of subsequently discovered material facts.

These disclosures are not intende

further discovery.

                                    INITIAL DISCLOSURES

       1.      Fed. R. Civ. P. 26(a)(1)(A)(i):

       The name and, if known, the address and telephone number of each individual likely

to have discoverable information       along with the subjects of that information       that the

disclosing party may use to support its claims or defenses, unless the use would be solely for

impeachment.

       RESPONSE: Defendants identify the individuals listed on Exhibit A         Identification of

Individuals with Relevant Knowledge. Defendants reserve the right to amend this list during the

discovery period in this action.



                                                 2
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 12 of 18




       2.      Fed. R. Civ. P. 26(a)(1)(A)(ii):

       A copy    or a description by category and location     of all documents, electronically

stored information, and tangible things that the disclosing party has in its possession, custody

or control and may use to support its claims or defenses, unless the use would be solely for

impeachment.

       RESPONSE:

       Defendants identify the following categories of documents, electronically stored

information, and tangible things:

                      (A) Defendants relevant employment policies;

                      (B)
                            compensation and benefits;

                      (C) Correspondence between Plaintiff and Defendants; and

                      (D) Correspondence between Plaintiff and former co-workers.

       Defendants will supplement upon further investigation and as documents become

available.

 (3)           Fed. R. Civ. P. 26(a)(1)(A)(iii):

       A computation of each category of damages claimed by the disclosing party - who

must also make available for inspection and copying as under Rule 34 the documents or other

evidentiary material, unless privileged or protected from disclosure, on which each

computation is based, including materials bearing on the nature and extent of injuries

suffered.

       RESPONSE: Not applicable.




                                                   3
      Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 13 of 18




(4)    Fed. R. Civ. P. 26(a)(1)(A)(iv):

       For inspection and copying as under Rule 34, any insurance agreement under which

an insurance business may be liable to satisfy all or part of a possible judgment in the action

or to indemnify or reimburse for payments made to satisfy the judgment.

       RESPONSE: Defendants possess an insurance policy with the Hartford Financial

Services Group, Inc.

                                              Respectfully submitted,



                                              BY:      /s/ David J. Walton
                                                    David J. Walton (PA # 86019)
                                                    Leigh Ann Benson (PA #319406)
                                                    1650 Market Street, Suite 2800
                                                    Philadelphia, PA 19103
                                                    P: 215-665-2000
                                                    F: 215-665-2013
                                                    dwalton@cozen.com
                                                    lbenson@cozen.com


                                                    Attorneys for Defendants
Dated: January 20, 2020                             The Middle East Forum and
                                                    Gregg Roman




                                              4
        Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 14 of 18




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of Initial Disclosures of

Defendants The Middle East Forum and Gregg Roman Pursuant to Federal Rule of Civil

Procedure (26)(a)(1) was served by email on the following parties on this 20th day of January,

2020:

                                      Seth D. Carson, Esq.
                                Derek Smith Law Group, PLLC
                                       1835 Market Street
                                           Suite 2950
                                    Philadelphia, PA 19103
                                      Phone: 215.391.4790
                               Email: Seth@DerekSmithLaw.com

                                       Attorney for Plaintiff



                                                 BY:     /s/ David J. Walton

                                                       David J. Walton (PA # 86019)
                                                       Leigh Ann Benson (PA #319406)
                                                       Cozen O'Connor
                                                       1650 Market Street, Suite 2800
                                                       Philadelphia, PA 19103
                                                       P: 215-665-2000
                                                       F: 215-665-2013
                                                       dwalton@cozen.com

Dated: January 20, 2020                                Attorneys for Defendants
                                                       The Middle East Forum and
                                                       Gregg Roman




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       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 15 of 18




                                      EXHIBIT A

          IDENTIFICATION OF INDIVIDUALS WITH RELEVANT KNOWLEDGE

Name                       Contact Information        Comments
Daniel Pipes               Can be contacted through   President of The Middle East
                           counsel.                   Forum.

Gregg Roman                Can be contacted through   Defendant and Director at The
                           counsel.                   Middle East Forum.


Matthew Bennett            Can be contacted through   Former employee at
                           counsel.                   The Middle East Forum.


Lisa Reynolds Barbounis                               Plaintiff in this action.


                                                      Former co-worker of Plaintiff;
Patricia McNulty                                      Plaintiff in similar action
                                                      against Defendants.

                                                      Former co-worker of Plaintiff;
Caitriona Brady                                       Plaintiff in similar action
                                                      against The Middle East
                                                      Forum.
Delaney Yonchek                                       Former co-worker of Plaintiff;


                                                      Former co-worker of Plaintiff;
                                                      Plaintiff in similar action
                                                      against Defendants.

                           Can be contacted through   Former co-worker of Plaintiff;
Stacey Roman
                           Counsel.                   employee at The Middle East
                                                      Forum.

                                                      Former co-worker of
Aaron Balshan
                                                      Defendant, employee at
                                                      McKinsey.

Matan Peleg                Jerusalem, Israel          CEO, Im Tirtzu Non-profit
                                                      organization

Gilad Ach                  Shilo, Israel              CEO, Ad Kan organization




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       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 16 of 18



Yaron Sideman                 Israel Ministry of Foreign   Former Consul General, Israel
                              Affairs                      Consulate, Philadelphia, spent
                                                           time with Plaintiff in Israel

Eran Vasker                   Tel Aviv, Israel             Former Israel Police Officer,
                                                           spent time with Plaintiff in
                                                           Israel

Raheem Kassam                 Washington, DC               Co-Host, The War Room,
                                                           former Breitbart UK Editor


Steven Schimmel               Amherst, MA                  CEO, Jewish Federation of
                                                           Central Massachusetts


Jonathan Hunter
                              London, England              Pinkser Centre Founder

Elliot Miller                                              Pinsker Center Founder,
                              Los Angeles, CA              Political Affair Director, Israel
                                                           Consulate to Los Angeles


Aliza Landes                  Tel Aviv, Israel             Captain (RSV) Israel Defense
                                                           Forces


Karys Rhea                    New York City, NY            Associate, Middle East Forum

Yinon Ben Pesach              New York City, NY            Friend of Defendant, spent
                                                           time with Plaintiff in Israel


Gary Gambill                  Wilmington, DE               Former co-worker of Plaintiff;
                                                           employee at The Middle East
                                                           Forum.


Grayson Levy                  Jerusalem, IL                Former co-worker of Plaintiff;
                                                           contractor at The Middle East
                                                           Forum.

Brandon Gideon Meir Carrier   Jerusalem, Israel            Friend of Defendant, spent
                                                           time with Defendant in Israel




LEGAL\44431276\1
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 17 of 18



Oded Forer                 Rehovot, Israel          Member of Israeli Parliament,
                                                    spent time with MEF
                                                    employees in Israel
Rachel Touitou             Raanana, Israel          Former co-worker of Plaintiff;
                                                    employee at The Middle East
                                                    Forum.

Alex Selsky                Jerusalem, Israel        Former co-worker of Plaintiff;
                                                    employee at The Middle East
                                                    Forum.

Uri Resnick                Jerusalem, Israel        Director of Policy Planning
                                                    Department, Israel Ministry
                                                    of Foreign Affairs

Samuel Westrop             Boston, Massachusetts    Former co-worker of Plaintiff;
                                                    employee at The Middle East
                                                    Forum.

                                                    Former co-worker of Plaintiff;
Edward Judd Kimball        Rockville, MD
                                                    employee at The Middle East
                                                    Forum.

                                                    Former co-worker of Plaintiff;
Ashley Perry               Efrat, Israel            contractor at The Middle East
                                                    Forum.
Yoseff Shachor             New York, NY             Founder, Pinsker Centre, spent
                                                    time with plaintiff in
                                                    Washington DC.
Matthew                    West Deptford, NJ        Acquaintance of Colleague
Ebert

Greg Reynolds
                           New Jersey               Family Member of Plaintiff

Jane Reynolds
                           New Jersey               Family Member of Plaintiff

David Reynolds
                           Philadelphia             Family Member of Plaintiff

Ryan Costello              West Chester, PA         Former Congressman

Randy Weber                Washington, DC/Texas     Member of Congress




LEGAL\44431276\1
       Case 2:19-cv-05030-JDW Document 112-3 Filed 03/03/21 Page 18 of 18




                                                    Chief of Staff, Congressman
Chara McMicheal               Washington DC         Randy Weber
                                                    Former Contractor, Middle
Joel Mowbray                  Los Angeles, CA       East Forum

                                                    Former Contractor, Middle
Rob Wasinger                  Washington, DC        East Forum

                                                    Friend of Plaintiff
Allison Teti                  Philadelphia, PA

                                                    Friend of Plaintiff,
Alana Goodman
                              Washington, DC        Investigative Journalist,
                                                    Washington Examiner

                                                    Former Contractor, Middle
Jarad Geldner                 Washington, DC        East Forum

                                                    VP, Government Relations,
Brett Goldman                 Lexington, KY         GenCanna

                                                    Anchor, i24 News
Michelle Makori               New York, NY

                                                    Anchor, i24 News
Tal Heinrich                  New York, NY
                                                    Former co-worker of
Clifford Smith                Washington DC         Plaintiff, employee at the
                                                    Middle East Forum.


Paul Harris, Stephen Yaxley   London, UK
Lennon, Tommy Robinson

Daniel Thomas                 London, UK
Avi Yemeni                    Hong Kong, China




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